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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION                                             L)   L




ALEXANDER MILLAN,                                 §                                                      L_'-

    Plaintiff,                                    §
                                                  §
 V.
                                                  §                 EP-18-CV-353-DB
                                                  §
THE CBE GROUP, INC.,                              §
     Defendant.                                   §


                                   ORDER TO SHOW CAUSE

                On this day, the Court sua sponte considered the above-captioned case.     On

November 19, 2018, Plaintiff Alexander Millan filed a complaint in this Court.      On January 18,

2019, Defendant The CBE Group, Inc. filed an answer.

                On January 22, 2019, this Court issued an Order including a directive to submit a

discovery plan and scheduling order.      On February 22, 2019, Plaintiff Alexander Millan and

Defendant The CBE Group, Inc. (collectively, "the Parties") filed a discovery plan in accordance

with that directive.   However, the Parties' 60 days to file the scheduling order ended on March

19, 2019, and, as   of today, the Parties have not filed a scheduling order. Federal Rule of Civil

Procedure 4 1(b) provides that a court may dismiss an action because of a plaintiff's failure to

comply with an order of the court.     Accordingly, the Court is of the opinion that the following

order should enter.

               IT IS HEREBY ORDERED that on or before April 8, 2019, Plaintiff Alexander

Millan SHOW CAUSE why the Court should not dismiss this case.

                SIGNED this 25th day of March 2019.



                                                  T   H5(O BfE DAVID BRIONES
                                               SENIOR ZfNITED STATES DISTRICT JUDGE
